                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    MILWAUKEE DIVISION


JULANE HERMAN,

                  Plaintiff,

          v.

                                                          Case No. 21-CV-442
NATIONAL REGENCY OF NEW BERLIN,
INC, et al.,


                          Defendants.


      DISCLOSURE STATEMENT OF DEFENDANTS NATIONAL REGENCY OF
              NEW BERLIN, INC. AND PROHEALTH CARE, INC.


          The undersigned, counsel of record for Defendants National Regency of New Berlin, Inc.

and ProHealth Care, Inc., furnish the following list in compliance with Civil L. R. 7.1 and Fed.

R. Civ. P. 7.1:

          1.      The full name of Defendants are as follows: National Regency of New Berlin,

Inc. and ProHealth Care, Inc.

          2.      The Defendants do not have a parent corporation or any publicly held corporate

stockholders. ProHealth Care, Inc. is the sole member of National Regency of New Berlin, Inc.

          3.      Husch Blackwell LLP is expected to appear on behalf of the Defendants in this

action.




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Dated this 7th day of July, 2021.
                                          HUSCH BLACKWELL LLP


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                                        ProHealth Care, Inc.




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